      Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 1 of 12




                             United States District Court
                            Southern District of New York


Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




 REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR PROTECTIVE ORDER AND
  TO DIRECT THE DEFENDANT TO DISCLOSE ALL INDIVIDUALS TO WHOM
  DEFENDANT HAS DISSIMINATED CONFIDENTIAL INFORMATION (DE 335)




                                        Sigrid McCawley (Pro Hac Vice)
                                        Meredith Schultz (Pro Hac Vice)
                                        BOIES, SCHILLER & FLEXNER LLP
                                        401 E. Las Olas Blvd., Suite 1200
                                        Ft. Lauderdale, FL 33301
                                        (954) 356-0011
        Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 2 of 12




         Plaintiff Virginia Giuffre, by and through her undersigned counsel, hereby files this

Reply in Support of her Motion for Protective Order and Motion for the Court to Direct

Defendant to Disclose All Individuals to whom Defendant has Disseminated Confidential

Information (DE 335).

I.       INTRODUCTION

        “The nature of this case concerns highly personal and sensitive information from both
parties. In this action, both parties have sought and will seek confidential information in the
course of discovery from the other party and from non-party witnesses. Release of such
confidential information outside of the litigation could expose the parties to ‘annoyance,
embarrassment, [and] oppression and result in significant injury to one or more of the parties’
business or privacy interests.”

                                       - Defendant, Ghislaine Maxwell, March 2, 20161

         Less than six months after representing to this Court that this case involves “highly

personal and sensitive information” warranting a broad protective order, Defendant now wants to

publicize police reports concerning Ms. Giuffre - most of them from when she was a child, some

of them concerning her being raped when only 14 years. Defendant’s challenge to Ms. Giuffre’s

confidentiality designation is without merit, and it is for improper purposes. Therefore, it should

be denied.

         Ms. Giuffre moved to maintain her confidentiality of highly sensitive documents. They

are police reports involving Ms. Giuffre, including two police reports describing Ms. Giuffre as a

fourteen-year-old victim of rape. Other police reports show her to be the victim of other crimes,

including domestic violence. Defendant should not be allowed to make these police reports

public, nor disseminate them to third parties. Defendant’s Response brief is devoid of any

argument to allow her to make these documents public, and completely devoid of any case law.




1
    DE 38 at 1.
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      Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 3 of 12




       Instead, Defendant mischaracterizes the police reports at issue. For example, in her

“Factual Background,” what Defendant characterizes as a “simulated sex act” for which Ms.

Giuffre “cried rape,” actually is a police report as follows:

       “I then had [REDACTED] get off of [REDACTED]. I observed that [REDACTED] was
       very intoxicated, and she was unable to stand on her legs. She was unable to crawl . .
       .Based on [REDACTED] intoxicated condition, a [sic] ambulance was called to transport
       her to [REDACTED] to check on her condition. I then met with [REDACTED] and his
       mother. I advised [REDACTED] of his Miranda rights . . . Upon arrival, at the E.R., I
       met with [REDACTED] who stated that while enroute to the E.R. she was conducting a
       head to toe evaluation when the patient stated that she had to urinate. [REDACTED] was
       assisting [REDACTED] remove her panties when she noticed grass and twig particles in
       the crotch area of [REDACTED] panties as well as a small amount of blood, an unknown
       clear substance, and a substance which appeared to be semen. She also saw abrasions on
       [REDACTED] buttocks. ”

See GM 00790-801.

        To be clear, Defendant will be able to use this report in these proceedings – if she can

prove it relevant and otherwise admissible. Indeed, under the protective order, she is permitted

to share it with witnesses. Thus, the confidentiality designation made by Ms. Giuffre merely

prevent Defendant from running to the press with these reports, which is, of course, what she

seeks to do.2

       As is in some of her other briefs, Defendant fails to cite a single case supporting her

position. Nor does she respond in any way to the case law advanced by Ms. Giuffre in the instant

motion. Instead, Defendant says that the police report documenting Ms. Giuffre’s rape while a

minor has her name redacted. Of course, such a redaction does Ms. Giuffre little good when

Defendant and her cohorts distribute it to the press - the identity of the victim in the police report

will presumably be supplied by Defendant. Indeed, Defendant and/or her joint defense partners

have already made it known to the media that this very police report concerns Ms. Giuffre, see

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  This plan was admitted by her joint defense partner, Alan Dershowitz, in his baseless Motion to
Intervene (DE 362).
                                                  2
Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 4 of 12
Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 5 of 12
Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 6 of 12
        Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 7 of 12




her close relationship with Jeffrey Epstein and plotted with him to defame Ms. Giuffre.

Defendant has also chosen to designate as confidential the fact that she has a DUI conviction,14

so that her own criminal activity for which she has been convicted is not in the media.



II.      DISCUSSION

         Ms. Giuffre has not challenged any of Defendant’s self-serving confidentiality

designations - designations that do not protect legitimate interests (such as trademark or

copyright information) but rather conceal shameful aspects of Defendant’s life, including all the

testimony regarding the specifics on just how she recruited underage girls for sex with convicted

pedophile Jeffrey Epstein But now Defendant challenges Ms. Giuffre’s designation of a police

report involving rape as confidential. The Court should not countenance the one-sided attempt at

gamesmanship by Defendant (and Dershowitz), who use confidentiality designations as a shield

to block release of information about Epstein’s sex trafficking while attempting to strike down

Ms. Giuffre designations about such things as being sexually assaulted while a child.

         Given the extremity of the position she is staking out, it is unsurprising that Defendant’s

entire brief cites no case law, and presents no argument to refute Ms. Giuffre’s case law. The

material Defendant seeks to send to the press is exactly the type of information that Protective

Orders are meant to protect, and this Court should deem these documents as confidential.

         A.      The Court can Order that these Documents be Made Confidential Either
                 Under the Existing Protective Order or Independent of the Protective Order

         Ms. Giuffre explained in detail why her application to the Court is timely filed under the

Protective Order [DE 62], and will not burden the Court with a recitation of such details and

arguments. The simple fact remains that these materials should remain confidential, and


14
     See McCawley Dec. at Exhibit 4, Maxwell Dep. Tr. at 390:13-15 (April 22, 2016).
                                                  6
      Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 8 of 12




Defendant cannot articulate one legitimate purpose for making them public. Accordingly, they

should remain confidential under the existing protective order.

        In addition, even if the Court were to find, for some reason, that the motion is untimely

under the Protective Order, or that these documents do not come within the ambit of the existing

protective Order, this Court still clearly has the inherent power to determine that these

documents are confidential and should be kept under seal. Rule 26(c) of the Federal Rules of

Civil Procedure permits a district court to “make any order which justice requires to protect a

party or person from annoyance, embarrassment, oppression, or undue burden or expense” upon

a showing of good cause. In her moving brief, Ms. Giuffre has established “good cause” for

these documents to remain and/or be deemed confidential by the Court. Therefore, the Court

should grant the instant motion independent of the language of the Protective Order (drafted by

Defendant).

        As this Court will remember, the Court twice allowed the parties to make suggested

redactions to the public versions of its Orders (see, e.g., DE 135). While the redactions were

agreed upon by the parties, they were solely at Defendant’s request. This is a case concerning sex

abuse of minors, brought by a minor victim of sex abuse. If any civil case cries out for protective

treatment, it is this one.

        As the Defendant explained to this Court back in March of 2016, the materials in this

case, and the materials at issue in the instant motion, are sensitive in nature, and therefore fall

squarely into the categories of material over which courts routinely grant protection. C.F.

Strategic Growth Intern., Inc. v. Remote MDX, Inc., 2007 WL 3341522, at *3 (S.D.N.Y., Nov. 9,

2007) (Sweet, J.) (“To the extent that RMDX is concerned about the sensitive nature of the




                                                  7
      Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 9 of 12




redacted information, those concerns should be allayed by the September 13, 2007 Stipulated

Protective Order”).

       In this case, unlike Maxwell who has refused to produce documents, Ms. Giuffre has

produced a number of documents including turning over personal, embarrassing documents that

bear no relation to the claim at issue in this case. Indeed, Defendant has procured other

documents with the same issues, including those documenting her being raped as a 14 year old

and being beaten by her husband, the father of her three minor children. These are the types of

documents for which confidentiality treatment during pre-trial proceedings is appropriate.


       B.      Defendant’s Challenge of these Materials (and her Joint Defense Partner’s
               Challenge of Other Materials) Frustrate this Court’s Ability to Resolve the
               Claim at Issue, and is a Waste of Judicial Economy

       Defendant and her joint defense partner, Dershowitz, for no apparent reason than their

media smear campaign, are now tying-up this Court’s docket, asking the Court to engage in a

document-by-document determination of confidentiality of the discovery in this case. This is a

waste of judicial resources, as it in no way furthers the resolution of the claim before this court.

Cf. In re Terrorist Attacks on September 11, 2001, 454 F.Supp.2d 220, 223 (S.D.N.Y.2006)

(“document-by-document confidentiality determinations . . . would impose an enormous burden

upon the Court and severely hinder its progress toward resolution of pretrial matters”).

       Moreover, should Defendant and her joint defense partner prevail in these baseless

efforts, Ms. Giuffre would be forced to apply to the Court to lift the confidentiality designations

from parallel discovery materials in this case that refute what Defendant and her proxies say in

the media (materials that are present in abundance in this case). None of this motion practice aids

in the resolution of the claim before this Court, but would merely frustrate that resolution.

Accordingly, the Court should grant Ms. Giuffre’s motion.


                                                  8
Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 10 of 12
     Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 11 of 12




                                             Meredith Schultz (Pro Hac Vice)
                                             Boies Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies Schiller & Flexner LLP
                                             333 Main Street
                                             Armonk, NY 10504




                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
                                             425 North Andrews Avenue, Suite 2
                                             Fort Lauderdale, Florida 33301
                                              (954) 524-2820

                                             Paul G. Cassell (Pro Hac Vice)
                                             S.J. Quinney College of Law
                                             University of Utah
                                             383 University St.
                                             Salt Lake City, UT 84112
                                             (801) 585-520216




16
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                                               10
     Case 1:15-cv-07433-LAP Document 1199-16 Filed 01/27/21 Page 12 of 12




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 23, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served to all parties of record via transmission of the Electronic Court Filing

System generated by CM/ECF.

       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com



                                                     /s/ Meredith Schultz
                                                         Meredith Schultz




                                                11
